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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

ATLAS AIR, INC. and SOUTHERN AIR
INC.,
                                                    Civil Action No. 1:19-cv-03223-CRC
                  Plaintiffs,

       v.

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS, AIRLINE DIVISION

and

AIRLINE PROFESSIONALS ASSOC. OF
THE INTERNATIONAL BROTHERHOOD
OF TEAMSTERS, LOCAL UNION NO. 1224

and

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS LOCAL 2750,

                  Defendants.


                 PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56, Plaintiffs Atlas Air, Inc. (“Atlas”) and

Southern Air Inc. (“Southern”) hereby respectfully move for summary judgment, including for

an order enforcing the arbitration awards issued against Defendants by the Southern and Atlas

System Boards of Adjustment on June 12, 2019 and August 26, 2019 by requiring that

Defendants immediately deliver an integrated seniority list to Atlas and Southern and otherwise

requiring Defendants to comply with those awards in all respects.

       The grounds supporting this Motion are set forth in the accompanying Statement of

Undisputed Material Facts and Memorandum of Law in Support of Plaintiffs’ Motion for

Summary Judgment.
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Dated:   October 31, 2019           Respectfully submitted,
         Washington, D.C.

                                    By:    /s/ Robert A. Siegel
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                                        Southern Air Inc.
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                               CERTIFICATE OF SERVICE

       I, Robert A. Siegel, hereby certify that on October 31, 2019, I caused a paper copy of the

following motion to be personally served on all Defendants.

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